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ATTORNEYS FOR VANDERGRIFF ACURA


                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                LUBBOCK DIVISION

IN RE:                                 §            Chapter 11
                                       §
REAGOR AUTO MALL, Ltd.                 §
                                       §            CASE No. 18-50324-rlj-11
          DEBTOR                       §
______________________________________ §
VANDERGRIFF ACURA                      §
                                       §
      Plaintiff                        §
                                       §
v                                      §
                                       §
REAGOR AUTO MALL, Ltd                  §
                                       §
      Defendant                        §



                  COMPLAINT TO DETERMINE DISCHARGEABILITY
                         OF DEBT UNDER SECTION 523


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE OF SAID COURT:

         NOW COMES Vandergriff Acura, a creditor of Debtor Reagor Auto Mall, and files this

Complaint to Determine Dischargeability of Debt Under Section 523, in support thereof would

respectfully show as follows:




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                              I.      FACTUAL BACKGROUND

       Vandergriff Acura is a corporation, organized and existing under the laws of the State of

Texas, and is in the business of selling automobiles. On or about June 26, 2018, Debtor entered into

a contract with Vandergriff Acura for the purchase of a 2016 ACURA                             MDX

5FRYD4H6XGB025926 (the “Vehicle”). Vandergriff Acura fully performed its obligations under

the contract, providing Debtor with possession of the Vehicle.

       The contract calls for immediate payment in full by Debtor. Debtor took possession of the

Vehicle by providing a check for payment in the total amount of THIRTY THREE THOUSAND

NINE HUNDRED DOLLARS & NO/100 ($33,900.00), the total amount due under the contract.

However, the check was written on an account that did not have sufficient funds for payment.

       Debtor not only misrepresented its financial ability to pay at the time of the purchase of the

vehicle, when Vandergriff Acura contacted Debtor, Debtor continually represented that it had funds

to pay and that payment would be promptly forthcoming. Debtor did so in an effort to buy itself

time to sell the Vehicle, which it did, but still did not pay Vandergriff Acura, further defrauding

Vandergriff Acura.

                                     II.     JURISDICTION

       This Court has jurisdiction over this objection pursuant to 28 U.S.C. § 1334 and 11

U.S.C. § 523. This is a core proceeding over which this Court has jurisdiction under 28

U.S.C. § 157(b).

                           III.    AUTHORITIES AND ANALYSIS

       Title 11, Section 523 sets forth a list of debts that cannot be discharged in a chapter 11

bankruptcy. In relevant part, Section 523 states that an obligation “for money, property, services,

or an extension, renewal, or refinancing of credit, to the extent obtained by--false pretenses, a



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false representation, or actual fraud, other than a statement respecting the debtor's or an insider's

financial condition” cannot be discharged. 11 U.S.C. § 523(a)(2)(A). Section 523 goes on to state

that there can be no discharge of an obligation that was the result of “willful and malicious injury

by the debtor to another entity or to the property of another entity.” 11 U.S.C. § 523(a)(6).

        Debtor purchased the Vehicle from Vandergriff Acura under an agreement pursuant to

which payment was to be made at the time possession of the Vehicle was delivered to Debtor.

Debtor provided a check to Vandergriff Acura, and on information and belief, Debtor knew at

the time it did so the check was drawn on an account with insufficient funds. After the check was

returned for insufficient funds, Vandergriff Acura contacted Debtor to seek payment. Debtor

then continued to mislead Vandergriff Acura, representing on a number of occasions that

payment for the Vehicle was being wired or was other was to be made. Payment was not ever

made however, and it appears that Debtor made the representations to allow itself time to sell the

Vehicle, likely placing the Vehicle beyond recovery by Vandergriff Acura. Even when the

Vehicle sold, Debtor did not pay Vandergriff Acura. Thus, Debtor has had the benefit of both the

Vehicle and its sale proceeds, which it obtained through deceiving Vandergriff Acura. Such

course of conduct demonstrates that the debt associated with the Vehicle should not be

discharged, pursuant to Sections 523(a)(2)(A) and 523(a)(6).

                               IV.     RESERVATION OF RIGHTS

        In the event that Vandergriff Acura files a proof of claim, or seeks other relief through this

bankruptcy, and such claim or request is made subject to, and without waiving, its request for the

relief set out herein that the debt associated with the Vehicle is not subject to discharge.




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                                        V.      CONCLUSION

        WHEREFORE, PREMISES CONSIDERED, Vandergriff Acura requests that the Court

deny discharge of the debt related to the Vehicle. Creditor further prays that it have such other and

further relief, at law or in equity, to which it may show it to be justly entitled.


                                                 Respectfully submitted,


                                                 /s/ Joe Rivera
                                                 Joe Rivera
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                                                 ATTORNEYS FOR VANDERGRIFF ACURA




                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the above and foregoing Complaint to
Determine Dischargeability of Debt Under Section 523 was served in accordance with Fed. R.
Bankr. P. 7005 and Local Rule 7005, via the Court’s electronic transmission facilities on the 26th
day of February 2019, on all parties of record.

                                                 /s/ Joe Rivera
                                                 Joe Rivera




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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                     ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
     VANDERGRIFF ACURA                                                                 REAGOR AUTO MALL, LTD.

ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
  Joe Rivera, Naman, Howell, Smith & Lee, PLLC                                   Marcus Alen Helt, Foley & Lardner, LLP
  P.O. Box 1470, Waco, Texas 76703, (254) 755-4100                               2021 McKinney Avenue, Suite 1600, Dallas,
                                                                                 Texas 75201, (214)999-4526
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
Ƒ'HEWRU    Ƒ86 Trustee/Bankruptcy Admin        Ƒ
                                                   X Debtor      ƑU.S. Trustee/Bankruptcy Admin
Ƒ&UHGLWRU
X           Ƒ2WKHU                                ƑCreditor    ƑOther
Ƒ7UXVWHH                                          ƑTrustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)

   Dischargeability of Debt Under Section 523



                                                                    NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


Ƒ 11-Recovery of money/property - §542 turnover of property                     Ƒ
    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)

Ƒ 12-Recovery of money/property - §547 preference                               Ƒ
                                                                                   61-Dischargeability - §523(a)(5), domestic support
                                                                                 X 68-Dischargeability - §523(a)(6), willful and malicious injury
Ƒ 13-Recovery of money/property - §548 fraudulent transfer                      Ƒ
Ƒ 14-Recovery of money/property - other                                         Ƒ
                                                                                   63-Dischargeability - §523(a)(8), student loan
                                                                                   64-Dischargeability - §523(a)(15), divorce or separation obligation

                                                                                Ƒ
                                                                                      (other than domestic support)

Ƒ 21-Validity, priority or extent of lien or other interest in property
    FRBP 7001(2) – Validity, Priority or Extent of Lien                            65-Dischargeability - other


                                                                                Ƒ
                                                                                FRBP 7001(7) – Injunctive Relief

Ƒ
    FRBP 7001(3) – Approval of Sale of Property
                                                                                Ƒ
                                                                                   71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)          72-Injunctive relief – other


Ƒ 41-Objection / revocation of discharge - §727(c),(d),(e)
    FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                Ƒ 81-Subordination of claim or interest
                                                                                FRBP 7001(8) Subordination of Claim or Interest



Ƒ 51-Revocation of confirmation
    FRBP 7001(5) – Revocation of Confirmation
                                                                                Ƒ 91-Declaratory judgment
                                                                                FRBP 7001(9) Declaratory Judgment



Ƒ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
    FRBP 7001(6) – Dischargeability
                                                                              Ƒ
                                                                              FRBP 7001(10) Determination of Removed Action

ƑX 62-Dischargeability - §523(a)(2), false pretenses, false representation,       01-Determination of removed claim or cause


Ƒ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny Ƒ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
       actual fraud                                                           Other


                    (continued next column)                                   Ƒ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
ƑCheck if this case involves a substantive issue of state law                  ƑCheck if this is asserted to be a class action under FRCP 23
Ƒ&KHFNLIDMXU\trial is demanded in complaint                                Demand $
Other Relief Sought
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
                      REAGOR AUTO MALL, LTD.                                         Case No. 18-50214-RLJ-11
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
               Northern District of Texas                             Lubbock Division                   Robert Jones
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                   NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
          02/26/2019                                                               Joe A. Rivera



                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
